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                               UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON

                                      PORTLAND DIVISION



 CENTER FOR BIOLOGICAL DIVERSITY,                       Case No: 3:18-cv-01035-MO
 et al,

              Plaintiffs,
                                                        [PROPOSED] STIPULATED
     v.                                                 DISCOVERY SCHEDULE

 DAUGHERTY, et al,

              Defendants.


          Pursuant to the Court’s Order of September 18, 2018 granting the parties’ joint motion to

stay discovery, ECF 34, 22, the Parties hereby stipulate to the following proposed discovery

schedule in this case.

DATE                                   EVENT

Friday, June 14, 2019                   Initial Disclosures

Friday, July 8, 2019                    First date on which parties may serve written Discovery


[PROPOSED] JOINT DISCOVERY SCHEDULE                                                          Page 1
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Friday, Sep. 27, 2019                  Expert Disclosure (initial)

Friday, Feb. 1, 2019                   Expert Disclosure (rebuttal)

Friday, Mar. 27, 2020                  Non-Expert Discovery & Disclosure Cut-Off

Friday, April 24, 2020                 Expert Discovery & Disclosure Cut-Off

       Upon the consent of the Parties or for good cause shown, any party may request that the

Court extend any of these deadlines.

       This schedule will allow sufficient time to complete what the Parties anticipate will be

extensive fact and expert witness discovery in this case, endeavoring to ensure that the Parties

have adequate time to develop their claims and defenses, and as a result, precluding the need for

extensions that are likely to arise under a more compressed schedule.1 The proposed schedule

set forth above also considers the schedules of a multitude of expert witnesses who will weigh in

on proximate cause and forestry managers with demands on their time, particularly during

wildfire seasons. This schedule is also consistent with stipulated schedules in cases alleging

violations of section 9 of the Endangered Species Act. See e.g. Minute Order, Cascadia

Wildlands et al v. Decker et al, Civ. No. 12-00961 (D. Or. July 16, 2012), ECF No. 35 (enlarging

discovery period in ESA section 9 case to 11 months); Wild Equity Institute et al v. City and

County of San Francisco et al, Civ. No. 11-00958 (N.D. Cal. June 28, 2011), ECF No. 48

(discovery schedule for ESA section 9 case lasting 12 months).2




1
  This stipulated schedule does incorporate time for the Defendants to review the amended
complaint to determine whether to file answers or move for dismissal.
2
  Although this motion does not expressly set a schedule for Plaintiffs to file a motion for a
preliminary injunction, the parties have discussed that Plaintiffs may do so and recognize that the
one or more parties may request an extension of the proposed discovery schedule for good cause
shown should in the event that such a motion is filed.

[PROPOSED] JOINT DISCOVERY SCHEDULE                                                         Page 2
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DATED: February 6, 2019            Respectfully submitted,


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[PROPOSED] JOINT DISCOVERY SCHEDULE                                           Page 3
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[PROPOSED] JOINT DISCOVERY SCHEDULE                                           Page 4
